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WV DOMESTIC VIOLENCE RELATED DEATHS
OCTOBER 1, 2016—SEPTEMBER 30, 2017


WEST VIRGINIA COALITION AGAINST DOMESTIC VIOLENCE




                                                   Thomas Decl., Ex. 5
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        2017 WV DOMESTIC VIOLENCE RELATED DEATHS




27 Domestic Violence related deaths occurred in West
Virginia for the period of October 1, 2016 – September 30,
2017.

The worst result of domestic violence is the loss of life. This report
provides information related to domestic violence related homicides,
suicides, and deaths by legal interventions for the period of October 1,
2016 – September 30, 2017.
This brief accounting in no way represents the total number of domestic
violence related deaths in West Virginia and accounts for adults (18 years
or older). Data gathered came from media outlets and information
provided by licensed domestic violence programs.
The risk of lethality increases with several risk factors, including separation
or an attempt to end the relationship, threats to kill, access to weapons,
stalking, forced sex, strangulation during an assault, controlling, possessive,
jealous behavior, and escalation of violence. Children not in common in
the household, substance abuse, and unemployment are also factors in the
risk of lethality.




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This report depicts the type of relationship that the perpetrator had with the
homicide victim(s). The diagram below does not include domestic violence
suicides and legal intervention from law enforcement officers.


                   Perpetrator Relationship to Homicide Victim
 9


 8


 7


 6


 5


 4


 3


 2


 1


 0




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          2017 WV DOMESTIC VIOLENCE RELATED DEATHS




  This report reviews the sex of the perpetrators. Male perpetrators were
  responsible for 18 (90%) domestic violence homicides. Of those homicides, 14
  were female victims. The remaining 5 victims killed by male perpetrators were
  male.

  Of the two homicides committed by female perpetrators, one victim was male
  and one was a female.

            Homicide Victims of Male               Homicide Victims of Female
                 Perpetrators                            Perpetrators
  16
                                           16


  14                                       14


  12                                       12


  10                                       10


   8                                       8


   6                                       6


   4                                       4


   2                                       2


   0                                       0
       Female   Male                            Female   Male
                                                                Thomas Decl., Ex. 5
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           2017 WV DOMESTIC VIOLENCE RELATED DEATHS




Firearm deaths (14) accounted for
67% of all of the domestic violence
homicides.

      Means of Death-                  Means of Death by Suicide
        Homicide                       Of the 27 domestic violence related
                                       deaths, 5 were suicides.

           Stabbing   1
        Set on Fire   1
           Neglect    1                Means of Death by Legal
      Strangulation       2
                                       Intervention
Blunt Force Trauma    1
           Firearm            14
                                       Of the 27 domestic violence related
    Pain Medication   1
                                       death, one perpetrator died by law
                                       enforcement officer intervention.



         Age of Victim
         52 years old was the average
         age of victims.




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           2017 WV DOMESTIC VIOLENCE RELATED DEATHS




         Domestic Violence Related Deaths by County
There are 55 counties in West Virginia, but only 13 counties reported domestic
violence related deaths. Kanawha County had the most deaths, totaling 6.


                        Domestic Violence Death by County
 7



 6



 5



 4



 3



 2



 1



 0




                                                        Thomas Decl., Ex. 5
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                  2017 WV DOMESTIC VIOLENCE RELATED DEATHS




   Kanawha County - William Stuck shot and killed his daughter, Sandra Nichols.
   Kanawha County - Jose Roman-Capdeville shot and killed himself during a police confrontation after a domestic violence incident.
   Kanawha County - Jason Blount shot and killed his mother Kathy Blount then shot and killed himself.
   Cabell County - Cory Chapman strangled to death his girlfriend, Kayla Adkins and left her body partially submerged in water
    behind an abandoned barn.
   McDowell County - Michael Kennedy shot and killed his estranged wife, Jessica Daughtery. He also shot and killed his 16-year old
    step-son during the same incident.
   Cabell County - The mother of Christopher Adkins shot and killed her son while trying the wrestle the gun away from him.
   Wood County - Jeff Sampson shot and killed his ex-wife's house guests, Brandy Hardman and Michael Harman.
   Mercer County - Law enforcement officers shot and killed Daniel Giberson after a domestic violence incident in which Daniel
    Goberson threatened the officers wielded a knife at the officers.
   Mercer County - Bradford Spencer forced his mother, Virginia Spencer, to overdose on pain pills.
   Jackson County - Darrell Williams Jr. shot and killed his former brother-in-law Bruce Deal.
   Tucker County – Thomas Jones killed himself after leaning his wife had obtained a domestic violence protective order.
   Tucker County - Jason White shot and killed his girlfriend, Nakeia Moore.
   Wayne County - Johnnie Walls shot and killed his stepfather, Walter Toppins.
   Nicholas County - David Geier strangled to death his girlfriend, Teresa Gwinn and hid her body in a refrigerator.
   Mercer County - Amanda Proffitt shot and killed her mother, Connie Proffitt.
   Marshall County - Paul Wilson withheld medication and severely neglected his mother, Susanna Wilson which resulted in her
    death.
   Kanawha County - Craig Homcomb shot and killed himself during a police pursuit after a domestic violence incident.
   Kanawha County - Larry White shot and killed his son, Corey White.
   Harrison County - Michael Griffith shot and killed his father, Clifford Powers.
   Mercer County - Larry Dillon shot and killed his wife, Sandra Dillon.
   Tucker County - Randy Shull assaulted and killed his girlfriend, Katherine Lillie.
   Monongalia County - Steven Marlarkey shot and killed his wife Linda Malarkey set their house on fire then killed himself.
   Kanawha County - Randall Chapman shot and killed his wife, Shirlene Chapman.
   Raleigh County – Dwayne Lane doused his fiancé, Belinda Cox, with gasoline and lit her on fire. He then tried to burn down the
    home with two children inside.
   Wood County - Mathew Wilson killed his mother's boyfriend with a machete.



                                                                                            Thomas Decl., Ex. 5
